         Case 1:21-cv-02296-CJN Document 85 Filed 12/01/21 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 MICHAEL J. LINDELL,

        Plaintiff,

 v.

 US DOMINION, INC., DOMINION                                Case No. 1:21-cv-02296-CJN
 VOTING SYSTEMS, INC.,
 DOMINION VOTING SYSTEMS
 CORPORATION, SMARTMATIC USA
 CORP., SMARTMATIC
 INTERNATIONAL HOLDING B.V.,
 and SGO CORPORATION LIMITED

        Defendants.


                   NOTICE OF VOLUNTARY DISMISSAL
        PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(i)

       To DEFENDANTS, US Dominion Inc., Dominion Voting Systems. Inc., Dominion Voting

Systems Corporation, Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO

Corporation Limited, AND THEIR ATTORNEYS OF RECORD:

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff Michael

J. Lindell, by and through undersigned counsel, hereby gives notice that the above-entitled action

is voluntarily dismissed, without prejudice, as to all Defendants. Plaintiff’s claims as alleged in

the above-entitled action have been re-filed as counterclaims and third-party claims in Case No.

1:21-cv-00445-CJN pursuant to the Court’s November 15, 2021 Order (ECF Doc. No 84).
         Case 1:21-cv-02296-CJN Document 85 Filed 12/01/21 Page 2 of 2




                                                     Respectfully submitted,

                                                     DANIELS & TREDENNICK, PLLC

                                                     /s/ Heath A. Novosad
                                                     Douglas A. Daniels
                                                     Texas State Bar No. 00793579
                                                     doug.daniels@dtlawyers.com (E-mail)
                                                     Heath A. Novosad
                                                     Texas State Bar No. 24037199
                                                     heath@dtlawyers.com (E-mail)

                                                     6363 Woodway Drive, Suite 700
                                                     Houston, Texas 77057
                                                     (713) 917-0024 (Telephone)
                                                     (713) 917-0026 (Facsimile)

                                                     Attorneys for Plaintiff



                                CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing instrument was served upon
all parties of record through the Court’s CM ECF system on December 1, 2021.

                                                     /s/ Heath A. Novosad
                                                     Heath A. Novosad




                                                 2
